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                     Willie Lee HavMmeri vs Methodist Hospital of Dallas (MHS) Case No. 3:22-cv-00594-E-BT




               Motion for Miscellaneous Relief
                                                Supporting Document

                                          U.S. District Court
                                   Northern District of Texas (Dallas)
Willie Lee HavMmeri,
Plaintiff
vs.
Methodist Health Systems,
Defendant

Case No. 3:22-cv-00594-E-BT

Assigned Judge: Ada Brown
Magistrate Judge: Rebecca Rutherford
Defendant’s Legal Team: Ogletree Deakins Nash Smoak & Stewart PC
(Employment Law Firm – Dallas, Texas)
Cause: 42:1983 Civil Rights (Employment Discrimination)
Nature of Suit: 442 Civil Rights: Employment
Date Filed: 03/14/2022
Today’s Date: 05/17/2023

Overview
According to the U.S. Department of Justice, nearly 97% of Civil Case in the U.S. District Court level get
dismissed and never make it to trial… This is due to settlements and outright Judge Dismissal. I wish to
be found in the 3% of cases that move toward Trial. I continue to humbly ask for Injunctive Relief in the
interim.

Talks of Settlement.
I’ve contacted the Defendant several times over the past three years (3) to avoid trial and to cease
Judicial involvement on this matter but they have been reluctant to settle these matters peacefully,
amicably and with discretion. While I am confident in my Facts, I wish to settle just so I can move on
with my life and have a clear name/conscious on the matters I’ve carried into my 40s.

Deny Dismissal – Let us please move FORWARD
I do not wish for my case to be dismissed. If only 3% are to go forward, I wonder what are the
percentages on cases to which the plaintiff does not have legal representation. Nonetheless, I wish for
my case to move forward and be found in that 3%.

As a person wronged by an employer, the only institutions we can rely on for justice are these very legal
proceedings. To receive justice from the TWC (Texas Workforce Commission) and a total apathy to the
facts from the EEOC (Equal Employment Opportunity Commission), I have noticed that these
government institutions that are in place to help “the little guys” get justice really make it as difficult as
possible.


                                   Wrongful Termination due to Retaliation and Discrimination
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I simply wish for my case to move forward. If I fall on my face in a trial, so be it. I gave it my best. If my
case is dismissed before I receive justice, what does that say about Justice? Is justice reserved simply for
the Rich/Affluent to enjoy?

Motion for Miscellaneous Relief in the form of Injunctive Relief
Back wages while this matter moves forward would put me in a position to hire a professional for these
proceedings, which the Defendant does not want to happen (despite being so annoyed with my
documents that they demand me to be silent).

The Defendant’s “response” to my Motion for Miscellaneous Relief came with no objections. There only
argument was that I keep asking for relief and they need the Court to Order me silent. The Motion was
filed 15 days ago. I would like for our Judge to decide on the matter, as I have mentioned, my growing
damages are irreparable and I am in need of Injunction.

Conclusion
I graciously await The Court’s rulings on the Motion to Dismiss and the Motion for Miscellaneous Relief.
I ask that I be found in the 3% of cases set for Scheduling Order and Trial.
I graciously await the Discovery/Disclosure stages, where all the truth shall be revealed.
I graciously await Settlement/Trial.
I graciously await moving on with my life.

My termination was WRONGFUL. It was RETALIATION for questioning an unfair bias, due to GENDER.

I am more than a name in the PLAINTIFF section of documents.

Respectfully submitted,

May 17th, 2023

By: _____/s/ Willie HavMmeri_________

Willie Lee HavMmeri, self-represented “Pro se”
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(214) 600-6207




                                   Wrongful Termination due to Retaliation and Discrimination
                                                 Case No. 3:22-cv-00594-E-BT
